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Vv

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

 

Case:2:1 g-cr-20456

UNITED STATES OF AMERICA, Judge: Borman, Paul D-
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. . . : 06-2

Plaintiff, Fe ED MATTER (dat)

V.
VIO: 18 U.S.C. § 1347
18 U.S.C. § 2

CARLOS SMITH, 18 U.S.C. § 982

Defendant.

INDICTMENT
THE GRAND JURY CHARGES:
General Allegations
At all times relevant to this Indictment:
The Medicare Program
1. | The Medicare program was a federal health care program providing

 

benefits to persons who were 65 years or older, or disabled. Medicare was
administered by the Centers for Medicare and Medicaid Services (CMS), a federal

agency under the United States Department of Health and Human Services.
  

 

 

Case 2:18-cr-20456-PDB-APP ECF No. 1, PagelD.2 Filed 06/26/18 Page 2 of 12

Individuals who received benefits under Medicare were referred to as Medicare
“beneficiaries.”

2. Medicare was a “health care benefit program,” as defined by Title 18,
United States Code, Section 24(b).

3. The Medicare program included coverage under two primary
components, hospital insurance (“Part A”), and medical insurance (“Part B”). Part
B of the Medicare Program covered the cost of physicians’ services and other
ancillary services not covered by Part A. The claims at issue in this indictment
were submitted under Part B of the Medicare Program.

4. Wisconsin Physicians Service (“WPS”) was the CMS contracted
carrier for Medicare Part B in the state of Michigan. TrustSolutions LLC was the
Program Safeguard Contractor for Medicare Part B in the state of Michigan until
April 24, 2012, when it was replaced by Cahaba Safeguard Administrators LLC
(“Cahaba”) as the Zone Program Integrity Contractor (“ZPIC”). The ZPIC was the
contractor charged with investigating fraud, waste and abuse. Cahaba was
replaced by AdvanceMed in May 2015.

5. Clinics and health care providers that provided services to Medicare
beneficiaries were able to apply for and obtain a Medicare “provider number.” A
health care provider who was issued a Medicare provider number was able to file

claims with Medicare to provide reimbursement for services provided to
  

 

 

Case 2:18-cr-20456-PDB-APP ECF No. 1, PagelD.3 Filed 06/26/18 Page 3 of 12

beneficiaries. A Medicare claim was required to set forth, among other things, the
beneficiary’s name, the date the services were provided, the cost of the services,
and the name and identification number of the health care provider who provided
the service. When the medical provider rendered a service, the provider submitted
a claim for reimbursement to the Medicare contractor/carrier that included the PIN
assigned to that medical provider. When an individual medical provider was
associated with a clinic, Medicare Part B required that the individual provider
number associated with the clinic be placed on the claim submitted to the Medicare
contractor.

6. By becoming a participating provider in Medicare, enrolled providers
agreed to abide by the policies and procedures, rules, and regulations governing
reimbursement. In order to receive Medicare funds, enrolled providers, together
with their authorized agents, employees, and contractors, were required to abide by
all the provisions of the Social Security Act, the regulations promulgated under the
Act, and applicable policies, procedures, rules, and regulations issued by CMS and
its authorized agents and contractors. Health care providers were given and/or
provided with online access to Medicare manuals and services bulletins describing

proper billing procedures and billing rules and regulations.
 

 

Case 2:18-cr-20456-PDB-APP ECF No. 1, PagelD.4 Filed 06/26/18 Page 4 of 12

7. Medicare Part B regulations required health care providers enrolled
with Medicare to maintain complete and accurate medical records reflecting the
medical assessment and diagnosis of their patients, as well as records documenting
actual treatment of the patients to whom services were provided and for whom
claims were submitted. These records were required to be sufficient to permit
Medicare, through WPS and other contractors, to review the appropriateness of
Medicare payments made to the health care provider under the Part B program.

8. In order to receive reimbursement for a covered service from
Medicare, a provider was required to submit a claim, either electronically or using
a form (e.g., a CMS-1500 form or UB-92) containing the required information
appropriately identifying the provider, patient, and services rendered, among other
things.

9. When an individual medical provider was associated with a clinic,
Medicare Part B required that the individual provider number associated with the
clinic be placed on the claim submitted to the Medicare contractor.

10. Providers could only submit claims to Medicare for services they
rendered and that were medically necessary, and providers were required to
maintain patient records to verify that the services were provided as described on

the claim form.
 

y~ 2:18-cr-20456-PDB-APP ECF No. 1, PagelD.5 Filed 06/26/18 Page 5 of 12

Medical Coding

11. The American Medical Association assigns and publishes numeric
codes, known as the Current Procedural Terminology (“CPT”) and Health Care
Procedure Common Coding System (“HCPCS”) codes. The codes are a systematic
listing, or universal language, used to describe the procedures and services
performed by health care providers.

12. The procedures and services represented by the CPT and HCPCS
codes are health care benefits, items, and services within the meaning of 18 U.S.C.
§ 24(b). They include codes for office visits, diagnostic testing and evaluation, and
other services. Health care providers use CPT and HCPCS codes to describe the
services rendered in their claims for reimbursement to health care benefit
programs.

13. Health care benefit programs, including Medicare, use these codes to
understand and evaluate the claims submitted by providers and to decide whether
to issue or deny payment. Each health care benefit program establishes a fee or
reimbursement level for each service described by a CPT or HCPCS code.

The Entity

14. TAMISIKA PSYCORP, PLLC (“Tamisika’’), is a Texas professional

limited liability company, incorporated in or around October 11, 2016. Tamisika is,

or was, enrolled as a participating provider with Medicare in both Texas and

 
 

y - 2:18-cr-20456-PDB-APP ECF No. 1, PagelD.6 Filed 06/26/18 Page 6 of 12

Michigan, and submitted claims for services purportedly provided in both states
using separate Medicare Identification numbers.
The Defendant
15. Defendant CARLOS SMITH, a resident of Fort Bend County, Texas,
was a licensed psychologist in the state of Michigan who was enrolled as a
participating provider with Medicare. CARLOS SMITH was the registered agent
for Tamisika.

COUNT 1
(18 U.S.C. §§ 1347 and 2 - Health Care Fraud)

16. Paragraphs 1 through 17 of the General Allegations section of this
Indictment are re-alleged and incorporated by reference as though fully set forth
herein.

17. From in or around October 2016 and continuing through in or around
June 2018, the exact dates being unknown to the Grand Jury, in Wayne county, in
the Eastern District of Michigan, and elsewhere, the defendant CARLOS SMITH,
in connection with the delivery of and payment for health care benefits, items, and
services, did knowingly and willfully execute, and attempt to execute, a scheme and
artifice to defraud a federal health care benefit program affecting commerce, as
defined in Title 18, United States Code, Section 24(b), that is, Medicare, and to
obtain, by means of materially false and fraudulent pretenses, representations, and

promises, money and property owned by, and under the custody and control of

6
-~ 2:18-cr-20456-PDB-APP ECF No. 1, PagelD.7 Filed 06/26/18 Page 7 of 12

Medicare, in connection with the delivery of and payment for health care benefits,
item and services.
Purpose of Scheme and Artifice

18. It was a purpose of the scheme and artifice for CARLOS SMITH to
unlawfully enrich himself by, among other things, (a) submitting or causing the
submission of false and fraudulent claims to Medicare for services that were: (i)
medically unnecessary; (ii) not eligible for reimbursement; and/or (iii) not provided
as represented; (b) concealing the submission of false and fraudulent claims to
Medicare, and the receipt and transfer of the proceeds from the fraud; and (c)
diverting proceeds of the fraud for the personal use and benefit of the defendant.

The Scheme and Artifice
-The matter and means of CARLOS SMITH’s scheme and artifice was as
follows:

19. Beginning in February 2017, CARLOS SMITH would submit or cause
the submission of a Medicare enrollment application to provide services in Michigan
and falsely certify to Medicare that he would comply with all Medicare rules and
regulations, and federal laws, including that he would not knowingly present or

cause to be presented, a false and fraudulent claim for payment by Medicare.

 
yr Case 2:18-cr-20456-PDB-APP ECF No. 1, PagelD.8 Filed 06/26/18 Page 8 of 12

20. CARLOS SMITH would post or cause the posting of online
advertisements for social worker positions in order to obtain the personal and
professional identification of licensed clinical social workers.

21. CARLOS SMITH would enroll or cause the enrollment of licensed
clinical social workers with Medicare as providers for Tamisika.

22. CARLOS SMITH would obtain Medicare beneficiary information that
was used to support false and fraudulent claims that were submitted to Medicare.

23. CARLOS SMITH would submit or cause the submission of claims to
Medicare for psychotherapy services that were purportedly (a) provided by social
workers, when in fact, those social workers did not provide psychotherapy services;
and (b) provided to Medicare beneficiaries, when in fact, no such services were
provided.

24. CARLOS SMITH submitted or caused the submission of claims to
Medicare for more than $1.2 million for these services, which were medically
unnecessary, not eligible for Medicare reimbursement, or not provided.

All in violation of Title 18, United States Code, Sections 1347 and 2.
y 2:18-cr-20456-PDB-APP ECF No. 1, PagelD.9 Filed 06/26/18 Page 9 of 12

FORFEITURE ALLEGATIONS
(18 U.S.C. § 982(a)(7) - Criminal Forfeiture)

25. The allegations contained in this Indictment above are incorporated by
reference as if set forth fully herein for the purpose of alleging forfeiture pursuant
to the provisions of Title 18, United States Code, Section 982.
26. Asa result of the violations alleged in Count One under Title 18,
United States Code, Sections 1347 and 2, as set forth in this Indictment, defendant
CARLOS SMITH shall forfeit to the United States pursuant to Title 18, United
States Code, Section 982(a)(7), any property, real or personal, constituting, or
derived from, any gross proceeds obtained, directly or indirectly, as a result of such
violation.
27. Substitute Assets: Ifthe property described above as being subject to
forfeiture, as a result of any act or omission of the defendant:

a. Cannot be located upon the exercise of due diligence;

b. Has been transferred or sold to, or deposited with, a third
party,

c. Has been placed beyond the jurisdiction of the Court;

d. Has been substantially diminished in value; or

e. Has been commingled with other property that cannot be
subdivided without difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code,

Section 853(p) as incorporated by Title 18, United States Code, Section 982(b), to
y 2:18-cr-20456-PDB-APP ECF No. 1, PagelD.10 Filed 06/26/18 Page 10 of 12

seek to forfeit any other property of defendant CARLOS SMITH up to the value of
the forfeitable property described above.

28. Money Judgment: Defendant CARLOS SMITH shall forfeit to the
United States a sum of money equal to at least $1,201,980.00 in United States
currency, or such amount as is proved in this matter, representing the total amount
of gross proceeds defendant obtained as a result of defendant’s violation of Title

18, United States Code, Sections §§ 1347 and 2, as alleged in this Indictment.

THIS IS A TRUE BILL.

s/Grand Jury Foreperson
Grand Jury Foreperson

MATTHEW SCHNEIDER
United States Attorney

s/Wayne F. Pratt

WAYNE F. PRATT

Chief, Health Care Fraud United
Assistant United States Attorney
211 W. Fort Street, Suite 2001
Detroit, MI 48226

 

10
s/Brendan Stewart

BRENDAN STEWART

Assistant Chief

Criminal Division, Fraud Section
United States Department of Justice
1400 New York Avenue, N.W.
Washington, DC 20005

 

s/Steven Scott

STEVEN SCOTT

Trial Attorney

U.S. Department of Justice
Criminal Division, Fraud Section
1400 New York Avenue, N.W.
Washington, DC 20005

Date: June 26, 2018

11

yy 2:18-cr-20456-PDB-APP ECF No. 1, PagelD.11 Filed 06/26/18 Page 11 of 12
 

Case 2:18-cr-20456-PDB-APP EC R 1, NPR a Filed 06/26/18 Page 12 of 12
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Case:2:18-cr-20456
Judge: Borman, Paul D.

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United States District Court imi . i thony P.
Eastern District of Michigan Criminal Case ¢ Mood: at a 2018 At 04:53 PM
SEALED MATTER (dat) _
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| Companion Case Number:

   

 

This may be a companion case based upon LCrR 57.10 (b)(4)': Judge Assigned:
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Case Title: USA Vv. Carlos Smith

County where offense occurred : Wayne County

Check One: Felony [_lMisdemeanor LlPetty
¥_Indictment/ Information --- no prior complaint.
Indictment/ information --- based upon prior complaint [Case number: ]
Indictment/ Information --- based upon LCrR §7.10 (d) [Complete Superseding section below].

 

 

Judge:

 

Superseding to Case No:

 

[_]Corrects errors; no additional charges or defendants.
Involves, for plea purposes, different charges or adds counts.
Embraces same subject matter but adds the additional defendants or charges below:

Defendant name Charges Prior Complaint (if applicable)

 

Piease take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case.

June 26, 2018 LE SArCtort

Date
Steven Scott, Trial Attorney
211 West Fort Street, Detroit, Ml 48226
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E-Mail address: Steven.Scott@usdoj.gov
Attorney Bar #: ILLINOIS 6306957

1 Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same
or related parties are present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases

even though one of them may have already been terminated.

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